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                                                                         Oct 20 2020

     THE STROJNIK FIRM LLC
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 2   2415 East Camelback Road
     Phoenix, Arizona 85016
 3   Telephone: (602) 510-9409
 4   pstrojnik@strojniklaw.com

 5   Attorneys for Plaintiff
     THERESA MARIE BROOKE
 6
 7                            UNITED STATES DISTRICT COURT
 8                          NORTHERN DISTRICT OF CALIFORNIA
 9
     THERESA BROOKE,
10                                             )   Case No.: 19-CV-06688-NC
                              Plaintiff,       )
11                                             )   JOINT STIPULATION AND ORDER
     vs.                                       )
                                               )   FOR DISMISSAL WITH PREJUDICE
12
                                               )   AND ORDER
     SANTA CRUZ MISSION HOTEL, LP,
13                                             )
                              Defendants.      )
14                                             )
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            JOINT STIPULATION AND ORDER FOR DIMISSAL WITH PREJUDICE AND ORDER
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 1                                            STIPULATION
 2          The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil
 3   Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement executed
 4   by them, to the Dismissal With Prejudice of this action, including all claims stated therein against
 5   all parties, with each party to bear its own attorney’s fees and costs.
 6
 7   IT IS SO STIPULATED
 8   October 20, 2020
 9   Respectfully submitted,
10   /s/                                                /s/
     THE STROJNIK FIRM LLC                              ANDERIES & GOMES LLP
11   Peter Kristofer Strojnik (SBN 242728)              Allan J. Gomes (SBN 225810)
12   Esplanade Center III, Suite 700                    Shane K. Anderies (SBN 215415)
     2415 East Camelback Road                           505 Montgomery Street, Floor 11
13   Phoenix, Arizona 85016                             San Francisco, California 94111
     Telephone: (602) 510-9409
     pstrojnik@strojniklaw.com                          Telephone: (415) 217-8802
14                                                      Facsimile: (415) 217-8803
15   Attorneys for Plaintiff                            agomes@andgolaw.com
     Theresa Marie Brooke
16                                                      Attorneys for Defendant Santa Cruz Mission
                                                        Hotel, L.P.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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22              October 20
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     Date: _________________, 2020
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                                                        HON. NATHANAELGRCOUSINS
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                                                        UNITED STATES DISTRICT JUDGE
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                                                                                               M. Cousin
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         JOINT STIPULATION AND ORDER FOR DIMISSAL WITH PREJUDICE AND ORDER
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       Case 5:19-cv-06688-NC Document 40 Filed 10/20/20 Page 3 of 3




 1                                      ECF ATTESTATION
 2          I, Allan J. Gomes, am the ECF User whose ID and password are being to file this JOINT
 3   STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE AND [PROPOSED]
 4   ORDER. In compliance with Civil Local Rule 5-1(i)(3), I attest that concurrence in this
 5   stipulation has been obtained from any signatories indicated by a “conformed” signature (/s/)
 6   within this e-filed document.
 7
 8   Dated: October 20, 2020                                  _/s/
 9                                                            Allan J. Gomes

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         JOINT STIPULATION AND ORDER FOR DIMISSAL WITH PREJUDICE AND ORDER
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